Case 2:21-cr-00106-MCS Document 51 Filed 07/26/21 Page 1 of 6 Page ID #:617


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                                                                    v ~,~     ~
  7
    Attorneys for Reason Magazine                            ~~        `~''~ yr
  8
                            UNITED STATES DISTRICT COURT
  9
             CENTRAL DISTRICT OF CALIFORNIA,WESTERN DIVISION
 10
 11
 12 UNITED STATES OF AMERICA,                   CASE NO.21-CR-00106-MCS           FAX

 13                      Plaintiff,             JOINDER OF REASON MAGAZINE
                                                IN MICHELLE FRIEDMAN
 14                vs.
                                                GERLIS'S MOTION TO INTERVENE
 15 U.S. PRIVATE VAULTS,                        AND FOR ORDER UNSEALING
                                                SEARCH WARRANT MATERIAL;
 16                      Defendant.             MEMORANDUM OF POINTS AND
 17                                             AUTHORITIES

 18                                            [Filed concurrently with Declaration of
                                               Mike AlissiJ
 19
 20                                             Date: August 9, 2021
                                                Time: 3:00 p.m.
 21                                             Crtrm.: 7C

 22                                             Assigned to Hon. Mark C. Scarsi

 23


 25
 26
 27.
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        JOINDER OF REASON MAGAZINE IN GERLIS MOTION TO INTERVENE AND FOR ORDER UNSEALING
                                    SEARCH WARRANT MATERIAL
Case 2:21-cr-00106-MCS Document 51 Filed 07/26/21 Page 2 of 6 Page ID #:618




  1                                                   I.
  2                                          INTRODUCTION
  3              Reason Magazine ("Reason") hereby joins Parts III, A and B of Michelle Friedman
  4 Gerlis's Motion to Intervene and Unseal the Search Warrant Material in this matter.
  5 Specifically, Reason joins and incorporates, the Motion to Intervene and joins,
  6 incorporates, and seeks to amplify the First Amendment arguments presented by Ms.
  7 Gerlis. As set forth in Ms. Gerlis's Motion and as further discussed below, there is
  8 substantial public interest in the contents ofthe warrant material and the public's First
  9 Amendment presumptive right of access to that material should not be denied.
 10                                                  II.
 11                                            ARGUMENT
 12 I
    I I          Reason Is The Nation's Leading Libertarian Magazine
 13              Founded in 1968, Reason is the nation's leading libertarian magazine. It produces
 14 and disseminates hard-hitting independent journalism on civil liberties, politics,
 15 technology, policy, culture, and economics. Reason distributes an average of
 16 approximately 50,000 copies of its magazine, which is published 11 times per year.
 17 (Declaration of Mike Alissi ("Alissi Decl.")¶ 2.) It also operates a website,
 18 www.reason.com, which receives an average of approximately 5.2 million visits per
 19 month. (Id.)
 20              Reason produces original videos that draw an average of approximately 5.3 million
 21 views a month, as well as podcasts, live events, and more. Its staffers regularly appear on
 22 leading cable news and radio programs and its work is widely cited in the media. Its
 23 offices are located in Los Angeles and Washington, D.C. (Id. ¶ 3.)
                 xeason is puniisnea ny xeason r ounaation, a non-prom eaucauon ana researcn
 25 organization founded in 1978 to "advance[] a free society by developing, applying, and
 26 promoting libertarian principles, including individual liberty, free markets, and the rule of
 27 law." See https://reason.or g/frequently-asked-questions/#cLl.
 28
      37356482                                        2
       JOINDER OF REASON MAGAZINE 1N GERLIS MOTION TO INTERVENE AND FOR ORDER UNSEALING
                                   SEARCH WARRANT MATERIAL
Case 2:21-cr-00106-MCS Document 51 Filed 07/26/21 Page 3 of 6 Page ID #:619




      B.          News Organizations May Intervene In Court Proceedings To Seek Access To
  2               Information
  3               News organizations routinely are permitted to intervene in court proceedings to
  4 challenge orders that restrict access to information of public interest. See, e.g., Press
  5 Enterprise, Co. v. Superior Ct., 478 U.S. 1 (1986)(press permitted to intervene to
  6 challenge sealing of transcripts); Press Enterprise Co. v. Superior Ct., 464 U.S. 501
  7 (1984); Globe Newspaper Co. v. Superior Ct., 457 U.S. 596(1982); United States v. Kott,
  8 380 F. Supp. 2d 1122, 1123 (C.D. Cal. 2004).
  9               Intervention by Reason is appropriate here.
 10 C.            Reason Seeks The Unsealing Of The Warrant Material In Order To Vindicate
 11               Its First Amendment Rights
 12               Reason has published six articles about the Government's search and seizure at U.S.
 13 Private Vaults.l These articles attracted 485,000 page views at www.reason.com.
 14 Reason's posts about the U.S. Private Vaults matter on Twitter, Facebook, and Instagram
 15 reached 690,000 users and received engagement from 21,000 users. (Alissi Decl. ¶ 4.)
 16
    1 See Judge Orders FBI To Halt Forfeiture ofCash, Jewelry From Safe Deposit Boxes,
 17 Reason, June 24, 2021,
                              available at https://reason.com/2021/06/24/jud~e-orders-fbi-to-
 18 halt-forfeiture-of-cashjewelry-from-safe-deposit-boxes/; The FBIReturned This Innocent
    Couple's Safe Deposit Box. It Refuses To Give Back Many Others—and Is Trying To Seize
 19 $85 Million in Cash,Reason, June 11, 2021, available at
    https://reason.com/2021/06/1 1/fbi-raid-safety-deposit-boxes-los-an geles_jennifer-paul-
 20
    snitko-85-million-civil-forfeiture/; The FBI Took Their Safe Deposit Box and EveYything
 21 Inside It. Two Months Later, They're Still Waitingfor It To Be Returned. Reason, May 28,
    2021, available at https://reason.com/2021/05/28/the-fbi-took-their-safe-deposit-box-and-
 22 everat
               g-inside-it-two-months-later-thevre-still-waiting-for-it-to-be-returned/; See the
 23 FBIDig Through an Innocent Woman's Safe Deposit Box, Reason, May 26, 2021,
    available at https://reason.com/2021/05/26/see-the-fbi-dig-through-an-innocent-womans-
    safe-deposit-box/; The FBISeized Heirlooms, Coins, and Cash From Hundreds ofSafe
    Deposit Boxes in Beverly Hills, Despite Knowing 'Some'Belonged to 'Honest Citizens,'
 25
    Reason, May 10, 2021, available at https://reason.com/2021/OS/10/the-fbi-seized-
 26 heirlooms-coins-and-cash-from-hundreds-of-safe-deposit-boxes-in-Beverly-hills-despite-
    knowing-some-belonged-to-honest-citizens/; FBI Goes On Fishing Expedition At Safe-
 27 DepositBox Store. Reason, April 5, 2021, available at
 28 https://reason.com/2021/04/05/suicides-not-up-during-pandemic-after-all/
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       JOINDER OF REASON MAGAZINE IN GERLIS MOTION TO INTERVENE AND FOR ORDER UNSEALING
                                   SEARCH WARRANT MATERIAL
Case 2:21-cr-00106-MCS Document 51 Filed 07/26/21 Page 4 of 6 Page ID #:620




  1               Reason intends to continue reporting on the Government's seizure of property from
  2 customers of U.S. Private Vaults and asserts a First Amendment right to review and inform
  3 the public about the content of the warrant material, including without limitation,(a)the
  4 scope and strength of any evidence that the Government relied on to do what it did here,
  5 (b) whether the Government was forthright with the Magistrate about its intentions with
  6 respect to the customers' property, and (c) whether the Government complied with any
  7 ~ representations it made to the Magistrate about what it would or would not do with respect
  8 to customers' property. (Id. ¶ 5.)
  9                                                     III.
 10                                              CONCLUSION
 11               Reason's interest in the search warrant material in this case represents the highest
 12 expression ofthe First Amendment. Indeed, it is only through the vigorous exercise ofthe
 13 First Amendment that the public can learn how the Government treated the Fourth
 14 Amendment rights of the box holders at U.S. Private Vaults.
 15               Now that the indictment is unsealed, the warrant material is presumptively public.
 16 In light of the public's legitimate interest, Reason joins Ms. Gerlis's Motion on First
 17 Amendment grounds and respectfully requests that the Court unseal the warrant material.
 18
 19~ ~ DATED: July 26, 2021                       Respectfully Submitted,
 20
                                                  Benjamin N. Gluck
 21                                               Nicole R. Van Dyk
                                                  Naomi S. Solomon
 22                                               Bird, Marella, Boxer, Wolpert, Nessim,
 23                                               Drooks, Lincenberg & Rhow,P.C.



 25                                                           /s/Benjamin N. Gluck
                                                  BY~
 26                                                                 Benjamin N. Gluck
                                                        Attorneys for Reason Magazine
 27
 28
      3735648.2                                          4
       JOINDER OF REASON MAGAZINE IN GERLIS MOTION TO INTERVENE AND FOR ORDER UNSEALING
                                   SEARCH WARRANT MATERIAL
Case 2:21-cr-00106-MCS Document 51 Filed 07/26/21 Page 5 of 6 Page ID #:621




                                           PROOF OF SERVICE
  2                                      USA v. U.S. Private Vaults
                                        Case No. 21-CR-00106-MCS
  3
      STATE OF CALIFORNIA,COUNTY OF LOS ANGELES
  4
            At the time of service, I was over 18 years of age and not a party to this action. I
  5 am employed in the County of Los Angeles, State of California. My business address is
    1875 Century Park East, 23rd Floor, Los Angeles, CA 90067-2561.
  6
            On July 26, 2021, I served the following documents) described as JOINDER OF
  7 REASON MAGAZINE IN MICHELLE FRIEDMAN GERLIS'S MOTION TO
    INTERVENE AND FOR ORDER UNSEALING SEARCH WARRANT
  8 MATERIAL; MEMORANDUM OF POINTS AND AUTHORITIES on the interested
    parties in this action as follows:
  9
                                 SEE ATTACHED SERVICE LIST
 10
            BY MAIL: By placing a true copy thereof in sealed envelopes addressed to the
 11 parties listed on the attached Service List and causing them to be deposited in the mail at
    Los Angeles, California. The envelopes were mailed with postage thereon fully prepaid. I
 12 am readily familiar with our firm's practice of collection and processing correspondence
    for mailing. It is deposited with the U.S. Postal Service on that same day in the ordinary
 13 course of business. I am aware that on motion of party served, service is presumed invalid
    if postal cancellation date or postage meter date is more than one day after date of deposit
 14 for mailing affidavit.
 15        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the documents)
    to be sent from e-mail address aeastman c~,birdmarella.com to the persons at the e-mail
 16 addresses listed in the Service List. I did not receive, within a reasonable time after the
    transmission, any electronic message or other indication that the transmission was
 17 unsuccessful.
 18       BY MESSENGER SERVICE: I caused the documents to be served by placing
    them in an envelope or package addressed to the persons at the addresses listed on the
 19 Service List and providing them to a professional messenger service for service.
 20         I declare under penalty of perjury under the laws ofthe State of California that the
      foregoing is true and correct.
 21
                  Executed on July 26, 2021, at Los Angeles, California.
 22
 23
                                                           ~L               G~, ~~-
                                                        Alicia L. Eastman
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      3735648.2                                        5
       JOINDER OF REASON MAGAZINE IN GERLIS MOTION TO INTERVENE AND FOR ORDER UNSEALING
                                   SEARCH WARRANT MATERIAL
Case 2:21-cr-00106-MCS Document 51 Filed 07/26/21 Page 6 of 6 Page ID #:622




                                       SERVICE LIST
                                   USA a U.S. Private Vaults
  2                               Case No. 21-CR-00106-MCS

       VIA U.S. MAIL AND E-MAIL
  C~
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       Telephone:(213)894-0102                    Counsel for Movants Tenants 1, 2,3 and 4
  8    Email: andrew.brown usdoj.gov
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 10
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        JOINDER OF REASON MAGAZINE IN GERLIS MOTION TO INTERVENE AND FOR ORDER UNSEALING
                                    SEARCH WARRANT MATERIAL
